Case 6:20-cv-00965-RRS-PJH Document 1-2 Filed 07/29/20 Page 1 of 3 PageID #: 47




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 910 E MAIN LLC D/B/A QUARTER          CIVIL ACTION NO.__________
 TAVERN; BUBBA’S SALOON, LLC;
 CJD III LLC D/B/A TWISTED TAVERN;
 DOUG MCCARTHY ENTERPRISES INC.
 D/B/A 501; EMERALD BILLIARDS, L.L.C.; DISTRICT JUDGE __________________
 MULLIGAN’S ON THE TECHE, L.L.C.
 D/B/A CANTINA’S DOWNTOWN; MY
 PLACE BAR & GRILL, L.L.C.;
 NAPOLEONS ON THE TECHE, LLC; POOL MAGISTRATE JUDGE ______________
 DO’S SPORTS BAR LLP; SOCO SPORTS
 BAR, LLC; YED ENTERPRISES LLC D/B/A
 DEWEY’S LOUNGE
                                       JURY DEMAND

 VERSUS

 JOHN BEL EDWARDS,
 IN HIS OFFICIAL CAPACITY
 AS GOVERNOR OF THE STATE OF
 LOUISIANA; AND H. “BUTCH”
 BROWNING, JR., IN HIS OFFICIAL
 CAPACITY AS FIRE MARSHAL OF
 THE STATE OF LOUISIANA




        EXHIBIT B
Case 6:20-cv-00965-RRS-PJH Document 1-2 Filed 07/29/20 Page 2 of 3 PageID #: 48
Case 6:20-cv-00965-RRS-PJH Document 1-2 Filed 07/29/20 Page 3 of 3 PageID #: 49
